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2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     WILLIAM BOHAC
6
7                         IN THE UNITED STATES DISTRICT COURT
8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,          )   No. CR-S 11-323 JAM
                                        )
12                     Plaintiff,       )
                                        )   STIPULATION AND ORDER VACATING
13        v.                            )   DATE, CONTINUING CASE, AND
                                        )   EXCLUDING TIME
14                                      )
     WILLIAM BOHAC,                     )
15   KENNETH EATON,                     )   Date   February 14, 2012
     JONATHAN GANEY,                    )   Time: 9:30 a.m.
16   THOMAS GANEY,                      )   Judge: Hon. John A. Mendez
                       Defendants.
17
     _______________________________
18
          IT IS HEREBY STIPULATED by and between Assistant United States
19
     Attorney Jared Dolan, Counsel for Plaintiff, and Attorney Dina L.
20
     Santos, Counsel for Defendant William Bohac; Attorney Chris Cosca,
21
     Counsel for Kenneth Eaton; Attorney Matthew Bockman, Counsel for
22
     Jonathan Ganey; Attorney Danny Brace, Counsel for Thomas Ganey; that
23
     the status conference scheduled for December 6, 2011, be vacated and
24
     the matter be continued to this Court's criminal calendar on February
25
     14, 2012,at 9:30 a.m. for further status.
26
          This continuance is requested by the defense in order to permit
27
     counsel to continue in negotiations with the prosecution in attempt to
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1    reach a resolution, meet with the clients to discuss various
2    resolutions, and to review continue the defense investigation and reviw
3    of the voluminous discovery.
4
5         IT IS FURTHER STIPULATED that time for trial under the Speedy
6    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
7    3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
8    ends of justice served in granting the continuance and allowing the
9    defendant further time to prepare outweigh the best interests of the
10   public and the defendant in a speedy trial.
11        The Court is advised that all counsel have conferred about this
12   request, that they have agreed to the February 14, 2012 date, and that
13   all counsel have authorized Ms. Santos to sign this stipulation on
14   their behalf.
15
16
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18
19        IT IS SO STIPULATED.
20
21   Dated: Dec. 2, 2011                     /S/ Dina L. Santos
                                            DINA L. SANTOS
22                                          Attorney for
                                            William Bohac
23
24   Dated: Dec. 2, 2011                     /S/ Chris Cosca
                                            CHRIS COSCA
25                                          Attorney for
                                            Kenneth Eaton
26
     Dated: Dec. 2, 2011                     /S/ Matthew Bockman
27                                          MATTHEW BOCKMAN
                                            Attorney for
28                                          Jonathan Ganey
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1
     Dated: Dec. 2, 2011                     /S/ Danny Brace
2                                           DANNY BRACE
                                            Attorney for
3                                           Thomas Ganey
4
     Dated: Dec. 2, 2011                     /S/ Jared Dolan
5                                           JARED DOLAN
                                            Assistant United States Attorney
6                                           Attorney for Plaintiff
7
8
9
10                                     O R D E R
11       IT IS SO ORDERED.
12                  By the Court,
13
14   Dated: Dec.5, 2011                     /s/ John A. Mendez
                                            Hon. John A. Mendez
15                                          United States District Judge
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